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                                                  M INUTE O RD ER                                                           Page 16

                               Chief M agistrate Judge Edw in G .Torres
                            KingBuildingcourtroom ln-s                                Date:o1/o6/2s               Time:1:30p.m.
Defendant: Artem Olegovich Alafyev                 J#: 13968-506   Case #: 25-M J-02012-TORRES
                                              .                      A
AUSA:                X-                               Attorney:       x                                      #(
violation: POSSe l0n&TransportationofChildPornography      surr/ArrestDate:1/3/25                       YOB:1985
Proceeding: InitialAppearance                                        CJ Ap t:
                                                                                      *1

Bond/PTD Held:C Yes C No                      Recommended Bond:            rC-O                    '
Bond Setat:                                                              Co-signed by:

 I-
  Q surrenderand/ordonotobtainpassports/traveldocs                            Language:                           /
 1r
  -71
    , ReporttoPTSasdirected/or                          x'saweek/monthby D
                                                                         .isposition:
          phone:        x'saweek/monthinperson                                                                         vt
                                                                                                                        gev
          Random urinetesting by Pretrial                                                           *
 Nr services
         Treatm ent as deem ed necessary
 NE Refrainfrom excessiveuseofalcohol                                                   UZrN   -
                                                                                                                              -
                                                                                                         .
 Nr' participateinmentalhealthassessment&treatment                                     CX D                                           -
 Nr Maintainorseekfull-timeemployment/education
 Nr Nocontactwithvictims/witnesses,exceptthroughcounsel                       '                '                  X'
 nr. Nofirearms                                                                            .                            .


 Nr Nottoencumberproperty                                                                                     , -                     '
                                                                                  h                          ''
 NC. Maynotvisittransportationestablishments                                                                                  m,



          HomeConfinement/ElectronicMonitoringand/or
          Curfew.             pm to               am,paidby

 nr,Allowances:Medicalneeds,courtappearances,attorneyvisits,
          religious,em ploym ent
 Nr.Travelextendedto:                                                             yjmefromtodayto                       excluded
 RC Other:                                                                        fromSpeedyTrialClock
NEXT COURTAPPEARANCE          Date:               Timei         Judge:                              Place:
ReportRE Counsel:
     '
                                      .                                                                            .
                                          W         :
 i-D BondHearing:
 '
                               l                    -3
 reIim/Arraig orRemoval:1                           p                       lf                                    lé
             n erence RE:
D.A.R. lf-
         to 2=J.Z                                                        Timeincourt:                                 - ,
                                      s/EdwinG.Torres                                              ChiefMagistrateJudge
